 Fill in this information to identify the case:

 Debtor name         Home Opportunity, LLC

 United States Bankruptcy Court for the:            DISTRICT OF ARIZONA

 Case number (if known)         2:21-bk-04924-EPB
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          July 8, 2021                            X /s/ Cordell Rogers
                                                                       Signature of individual signing on behalf of debtor

                                                                       Cordell Rogers
                                                                       Printed name

                                                                       Authorized Party
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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           Case 2:21-bk-04924-EPB                              Doc 10 Filed 07/08/21 Entered 07/08/21 18:22:42                            Desc
                                                               Main Document    Page 1 of 48
 Fill in this information to identify the case:

 Debtor name            Home Opportunity, LLC

 United States Bankruptcy Court for the:                       DISTRICT OF ARIZONA

 Case number (if known)               2:21-bk-04924-EPB
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $        1,175,593.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $                    0.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        1,175,593.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $           189,054.78


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$       11,072,554.92


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         11,261,609.70




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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            Case 2:21-bk-04924-EPB                                           Doc 10 Filed 07/08/21 Entered 07/08/21 18:22:42                                                                    Desc
                                                                             Main Document    Page 2 of 48
 Fill in this information to identify the case:

 Debtor name         Home Opportunity, LLC

 United States Bankruptcy Court for the:            DISTRICT OF ARIZONA

 Case number (if known)         2:21-bk-04924-EPB
                                                                                                                         Check if this is an
                                                                                                                         amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                        12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
    All cash or cash equivalents owned or controlled by the debtor                                                       Current value of
                                                                                                                         debtor's interest

 Part 2:        Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                             page 1
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           Case 2:21-bk-04924-EPB                              Doc 10 Filed 07/08/21 Entered 07/08/21 18:22:42                    Desc
                                                               Main Document    Page 3 of 48
 Debtor         Home Opportunity, LLC                                                         Case number (If known) 2:21-bk-04924-EPB
                Name


        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.


 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and          Net book value of      Valuation method used   Current value of
           property                                       extent of           debtor's interest      for current value       debtor's interest
           Include street address or other                debtor's interest   (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1. 1750 27th Street
                     Ensley, Birmingham,
                     AL 35218 - Debtor
                     has a legal interest in
                     this property,
                     although the seller
                     did not properly
                     complete and record
                     the transfer
                     documents when
                     Debtor purchased the
                     property so the
                     county assessor's
                     records to not reflect
                     the Debtor as the
                     owner. The Debtor
                     believes that the
                     value provided herein
                     and obtained from
                     the county tax
                     assessor may not
                     represent the fair
                     market value,
                     although the Debtor
                     does not have the
                     resources to
                     determine the current
                     market value.                        Legal interest                    $0.00    County Assessor                     $41,300.00



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 2
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           Case 2:21-bk-04924-EPB                              Doc 10 Filed 07/08/21 Entered 07/08/21 18:22:42                       Desc
                                                               Main Document    Page 4 of 48
 Debtor         Home Opportunity, LLC                                                        Case number (If known) 2:21-bk-04924-EPB
                Name

           55.2.     2423 Avenue G,
                     Birmingham, AL
                     35218 - Debtor has a
                     legal interest in this
                     property, although
                     the seller did not
                     properly complete
                     and record the
                     transfer documents
                     when Debtor
                     purchased the
                     property so the
                     county assessor's
                     records to not reflect
                     the Debtor as the
                     owner. The Debtor
                     believes that the
                     value provided herein
                     and obtained on the
                     county assessors
                     website does not
                     represent the fair
                     market value,
                     although the Debtor
                     does not have the
                     resources to
                     determine the current
                     market value.                        Legal interest                    $0.00    Zillow.com                         $35,454.00


           55.3.     300 6th Street Pratt,
                     Birmingham, AL
                     35214 - Debtor has a
                     legal interest in this
                     property, although
                     the seller did not
                     properly complete
                     and record the
                     transfer documents
                     when Debtor
                     purchased the
                     property so the
                     county assessor's
                     records to not reflect
                     the Debtor as the
                     owner. The Debtor
                     believes that the
                     value provided herein
                     and obtained from
                     the county tax
                     assessor may not
                     represent the fair
                     market value,
                     although the Debtor
                     does not have the
                     resources to
                     determine the current
                     market value.                        Legal interest                    $0.00    County Assessor                    $48,500.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                              page 3
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           Case 2:21-bk-04924-EPB                              Doc 10 Filed 07/08/21 Entered 07/08/21 18:22:42                    Desc
                                                               Main Document    Page 5 of 48
 Debtor         Home Opportunity, LLC                                                        Case number (If known) 2:21-bk-04924-EPB
                Name

           55.4.     6611 Division
                     Avenue, Birmingham,
                     AL 35206 - Debtor
                     has a legal interest in
                     this property,
                     although the seller
                     did not properly
                     complete and record
                     the transfer
                     documents when
                     Debtor purchased the
                     property so the
                     county assessor's
                     records to not reflect
                     the Debtor as the
                     owner. The Debtor
                     believes that the
                     value provided herein
                     and obtained from
                     Zillow.com may not
                     represent the fair
                     market value,
                     although the Debtor
                     does not have the
                     resources to
                     determine the current
                     market value.                        Legal interest                    $0.00    Zillow.com                         $60,603.00


           55.5.     100 E. Cherry Street,
                     Blytheville, AR 72315
                     - Debtor has a legal
                     interest in this
                     property, although
                     the seller did not
                     properly complete
                     and record the
                     transfer documents
                     when Debtor
                     purchased the
                     property so the
                     county assessor's
                     records to not reflect
                     the Debtor as the
                     owner. The Debtor
                     believes that the
                     value provided herein
                     and obtained from
                     the county tax
                     assessor may not
                     represent the fair
                     market value,
                     although the Debtor
                     does not have the
                     resources to
                     determine the current
                     market value.                        Legal interest                    $0.00    County assessor                     $2,500.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                              page 4
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           Case 2:21-bk-04924-EPB                              Doc 10 Filed 07/08/21 Entered 07/08/21 18:22:42                    Desc
                                                               Main Document    Page 6 of 48
 Debtor         Home Opportunity, LLC                                                        Case number (If known) 2:21-bk-04924-EPB
                Name

           55.6.     1611 Basin Street,
                     Blytheville, AR 72315
                     Abandoned property;
                     other interest
                     holders/buyers did
                     not record transfer of
                     title. The Debtor
                     believes that the
                     value provided herein
                     and obtained from
                     Zillow.com may not
                     represent the fair
                     market value,
                     although the Debtor
                     does not have the
                     resources to
                     determine the current
                     market value.                                                          $0.00    Zillow.com                         $10,931.00


           55.7.     505 Sea Spray Drive,
                     Bullhead City, AZ
                     86442 - Abandoned
                     property; other
                     interest
                     holders/buyers did
                     not record transfer of
                     title. The Debtor
                     believes that the
                     value provided herein
                     and obtained from
                     Zillow.com may not
                     represent the fair
                     market value,
                     although the Debtor
                     does not have the
                     resources to
                     determine the current
                     market value.                                                          $0.00    Zillow.com                          $8,874.00


           55.8.     12314 South
                     Aberdeen Street,
                     Calumet Park, IL
                     60827 - Abandoned
                     property; other
                     interest
                     holders/buyers did
                     not record transfer of
                     title. The Debtor
                     believes that the
                     value provided herein
                     and obtained from
                     the County Assessor
                     may not represent
                     the fair market value,
                     although the Debtor
                     does not have the
                     resources to
                     determine the current
                     market value.                                                          $0.00    County Assessor                     $2,602.00



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                              page 5
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           Case 2:21-bk-04924-EPB                              Doc 10 Filed 07/08/21 Entered 07/08/21 18:22:42                    Desc
                                                               Main Document    Page 7 of 48
 Debtor         Home Opportunity, LLC                                                        Case number (If known) 2:21-bk-04924-EPB
                Name

           55.9.     648 West 62nd Street,
                     Chicago, IL 60621 -
                     Debtor has a legal
                     interest in this
                     property, although
                     the seller did not
                     properly complete
                     and record the
                     transfer documents
                     when Debtor
                     purchased the
                     property so the
                     county assessor's
                     records to not reflect
                     the Debtor as the
                     owner. The Debtor
                     believes that the
                     value provided herein
                     and obtained from
                     Redfin.com may not
                     represent the fair
                     market value,
                     although the Debtor
                     does not have the
                     resources to
                     determine the current
                     market value.                                                          $0.00    Redfin.com                         $77,413.00


           55.10 477 Edgewood
           .     Avenue, Akron, OH
                     44307 Abandoned
                     property; other
                     interest
                     holders/buyers did
                     not record transfer of
                     title. The Debtor
                     believes that the
                     value provided herein
                     and obtained from
                     Zillow.com may not
                     represent the fair
                     market value,
                     although the Debtor
                     does not have the
                     resources to
                     determine the current
                     market value.                                                          $0.00    Zillow.com                         $39,926.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                              page 6
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           Case 2:21-bk-04924-EPB                              Doc 10 Filed 07/08/21 Entered 07/08/21 18:22:42                    Desc
                                                               Main Document    Page 8 of 48
 Debtor         Home Opportunity, LLC                                                        Case number (If known) 2:21-bk-04924-EPB
                Name

           55.11 1220 Hoover Place
           .     NW, Canton, OH
                     44703 - Abandoned
                     property; other
                     interest
                     holders/buyers did
                     not record transfer of
                     title. The Debtor
                     believes that the
                     value provided herein
                     and obtained from
                     Zillow.com may not
                     represent the fair
                     market value,
                     although the Debtor
                     does not have the
                     resources to
                     determine the current
                     market value.                                                          $0.00    Zillow.com                         $39,133.00


           55.12 821 Correll Avenue
           .     NE, Canton, OH
                     44704 - Abandoned
                     property; other
                     interest
                     holders/buyers did
                     not record transfer of
                     title. The Debtor
                     believes that the
                     value provided herein
                     and obtained from
                     Zillow.com may not
                     represent the fair
                     market value,
                     although the Debtor
                     does not have the
                     resources to
                     determine the current
                     market value.                                                          $0.00    Zillow.com                         $15,994.00


           55.13 2224 E. 78th Street,
           .     Cleveland, OH 44103
                     - Abandoned
                     property; other
                     interest
                     holders/buyers did
                     not record transfer of
                     title. The Debtor
                     believes that the
                     value provided herein
                     and obtained from
                     the county assessor
                     may not represent
                     the fair market value,
                     although the Debtor
                     does not have the
                     resources to
                     determine the current
                     market value.                                                          $0.00    county assessor                     $5,400.00



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                              page 7
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           Case 2:21-bk-04924-EPB                              Doc 10 Filed 07/08/21 Entered 07/08/21 18:22:42                    Desc
                                                               Main Document    Page 9 of 48
 Debtor         Home Opportunity, LLC                                                        Case number (If known) 2:21-bk-04924-EPB
                Name

           55.14 4449 E. 154th Street,
           .     Cleveland, OH 44128
                     - Debtor has a legal
                     interest in this
                     property, although
                     the seller did not
                     properly complete
                     and record the
                     transfer documents
                     when Debtor
                     purchased the
                     property so the
                     county assessor's
                     records to not reflect
                     the Debtor as the
                     owner. The Debtor
                     believes that the
                     value provided herein
                     and obtained from
                     the county tax
                     assessor may not
                     represent the fair
                     market value,
                     although the Debtor
                     does not have the
                     resources to
                     determine the current
                     market value.                                                          $0.00    county assessor                    $28,100.00


           55.15 509 E. 114th Street,
           .     Cleveland, OH 44108
                     - Abandoned
                     property; other
                     interest
                     holders/buyers did
                     not record transfer of
                     title. The Debtor
                     believes that the
                     value provided herein
                     and obtained from
                     Zillow.com may not
                     represent the fair
                     market value,
                     although the Debtor
                     does not have the
                     resources to
                     determine the current
                     market value.                                                          $0.00    Zillow.com                         $47,169.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                              page 8
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           Case 2:21-bk-04924-EPB                             Doc 10 Filed 07/08/21 Entered 07/08/21 18:22:42                     Desc
                                                              Main Document    Page 10 of 48
 Debtor         Home Opportunity, LLC                                                        Case number (If known) 2:21-bk-04924-EPB
                Name

           55.16 5606 Orey Avenue,
           .     Cleveland, OH 44105
                     - Abandoned
                     property; other
                     interest
                     holders/buyers did
                     not record transfer of
                     title. The Debtor
                     believes that the
                     value provided herein
                     and obtained from
                     the county tax
                     assessor may not
                     represent the fair
                     market value,
                     although the Debtor
                     does not have the
                     resources to
                     determine the current
                     market value.                                                          $0.00    county assessor                    $11,200.00


           55.17 6407 Whittier
           .     Avenue, Cleveland,
                     OH 44102 -
                     Abandoned property;
                     other interest
                     holders/buyers did
                     not record transfer of
                     title. The Debtor
                     believes that the
                     value provided herein
                     and obtained from
                     the county tax
                     assessor may not
                     represent the fair
                     market value,
                     although the Debtor
                     does not have the
                     resources to
                     determine the current
                     market value.                                                          $0.00    county assessor                    $18,500.00


           55.18 548 W. Front Street,
           .     Berwick, PA 18603 -
                     Abandoned property;
                     other interest
                     holders/buyers did
                     not record transfer of
                     title. The Debtor
                     believes that the
                     value provided herein
                     and obtained from
                     Zillow.com may not
                     represent the fair
                     market value,
                     although the Debtor
                     does not have the
                     resources to
                     determine the current
                     market value.                                                          $0.00    Zillow.com                     $143,642.00


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                              page 9
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           Case 2:21-bk-04924-EPB                             Doc 10 Filed 07/08/21 Entered 07/08/21 18:22:42                     Desc
                                                              Main Document    Page 11 of 48
 Debtor         Home Opportunity, LLC                                                        Case number (If known) 2:21-bk-04924-EPB
                Name



           55.19 405 E. Threadneedle
           .     Street, Beaumont, TX
                     77705 - Abandoned
                     property; other
                     interest
                     holders/buyers did
                     not record transfer of
                     title. The Debtor
                     believes that the
                     value provided herein
                     and obtained from
                     the county tax
                     assessor may not
                     represent the fair
                     market value,
                     although the Debtor
                     does not have the
                     resources to
                     determine the current
                     market value.                                                          $0.00    county assessor                     $3,090.00


           55.20 205 W. 2nd Street,
           .     Coffeyville, KS 67337
                     - Abandoned
                     property; other
                     interest
                     holders/buyers did
                     not record transfer of
                     title. The Debtor
                     believes that the
                     value provided herein
                     and obtained from
                     Zillow.com may not
                     represent the fair
                     market value,
                     although the Debtor
                     does not have the
                     resources to
                     determine the current
                     market value.                                                          $0.00    Zillow.com                         $24,536.00


           55.21 1014 Prescott Road,
           .     Columbia, SC 29203 -
                     Abandoned property;
                     other interest
                     holders/buyers did
                     not record transfer of
                     title. The Debtor
                     believes that the
                     value provided herein
                     and obtained from
                     Zillow.com may not
                     represent the fair
                     market value,
                     although the Debtor
                     does not have the
                     resources to
                     determine the current
                     market value.                                                          $0.00    Zillow.com                         $81,773.00


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                              page 10
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           Case 2:21-bk-04924-EPB                             Doc 10 Filed 07/08/21 Entered 07/08/21 18:22:42                     Desc
                                                              Main Document    Page 12 of 48
 Debtor         Home Opportunity, LLC                                                        Case number (If known) 2:21-bk-04924-EPB
                Name



           55.22 3665 Brumbaugh
           .     Blvd, Dayton, OH
                     45416 - Abandoned
                     property; other
                     interest
                     holders/buyers did
                     not record transfer of
                     title. The Debtor
                     believes that the
                     value provided herein
                     and obtained from
                     ZIllow.com may not
                     represent the fair
                     market value,
                     although the Debtor
                     does not have the
                     resources to
                     determine the current
                     market value.                                                          $0.00    Zillow.com                         $38,000.00


           55.23 1358 Elwood Road,
           .     East Cleveland, OH
                     44112 - Abandoned
                     property; other
                     interest
                     holders/buyers did
                     not record transfer of
                     title. The Debtor
                     believes that the
                     value provided herein
                     and obtained from
                     the county tax
                     assessor may not
                     represent the fair
                     market value,
                     although the Debtor
                     does not have the
                     resources to
                     determine the current
                     market value.                                                          $0.00    county assessor                    $21,600.00


           55.24 297 El Dorado Road,
           .     Fairmont, NC 28340 -
                     Abandoned property;
                     other interest
                     holders/buyers did
                     not record transfer of
                     title. The Debtor
                     believes that the
                     value provided herein
                     and obtained from
                     Zillow.com may not
                     represent the fair
                     market value,
                     although the Debtor
                     does not have the
                     resources to
                     determine the current
                     market value.                                                          $0.00    Zillow.com                         $19,900.00


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                              page 11
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           Case 2:21-bk-04924-EPB                             Doc 10 Filed 07/08/21 Entered 07/08/21 18:22:42                     Desc
                                                              Main Document    Page 13 of 48
 Debtor         Home Opportunity, LLC                                                        Case number (If known) 2:21-bk-04924-EPB
                Name



           55.25 654 East Meyers
           .     Avenue, Hazel Park,
                     MI 48030 -
                     Abandoned property;
                     other interest
                     holders/buyers did
                     not record transfer of
                     title. The Debtor
                     believes that the
                     value provided herein
                     and obtained from
                     Zillow.com may not
                     represent the fair
                     market value,
                     although the Debtor
                     does not have the
                     resources to
                     determine the current
                     market value.                                                          $0.00    Zillow.com                     $148,423.00


           55.26 105 South Mulberry,
           .     Manzanola, CO 81058
                     - Abandoned
                     property; other
                     interest
                     holders/buyers did
                     not record transfer of
                     title. The Debtor
                     believes that the
                     value provided herein
                     and obtained from
                     Zillow.com may not
                     represent the fair
                     market value,
                     although the Debtor
                     does not have the
                     resources to
                     determine the current
                     market value.                                                          $0.00    Zillow.com                         $63,896.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                              page 12
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           Case 2:21-bk-04924-EPB                             Doc 10 Filed 07/08/21 Entered 07/08/21 18:22:42                     Desc
                                                              Main Document    Page 14 of 48
 Debtor         Home Opportunity, LLC                                                        Case number (If known) 2:21-bk-04924-EPB
                Name

           55.27 402 East Illinois
           .     Street, New Berlin, IL
                     62670 - Abandoned
                     property; other
                     interest
                     holders/buyers did
                     not record transfer of
                     title; may be a title
                     issue. The Debtor
                     believes that the
                     value provided herein
                     and obtained from
                     Zillow.com may not
                     represent the fair
                     market value,
                     although the Debtor
                     does not have the
                     resources to
                     determine the current
                     market value.                                                          $0.00    Zillow.com                         $12,297.00


           55.28 400 Cain Mill
           .     Crossing (RR1 Box
                     247G), Patrick, SC
                     29584 - Abandoned
                     property; other
                     interest
                     holders/buyers did
                     not record transfer of
                     title. The Debtor
                     believes that the
                     value provided herein
                     and obtained from
                     the county tax
                     assessor may not
                     represent the fair
                     market value,
                     although the Debtor
                     does not have the
                     resources to
                     determine the current
                     market value.                                                          $0.00    county assessor                     $2,400.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                              page 13
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           Case 2:21-bk-04924-EPB                             Doc 10 Filed 07/08/21 Entered 07/08/21 18:22:42                     Desc
                                                              Main Document    Page 15 of 48
 Debtor         Home Opportunity, LLC                                                        Case number (If known) 2:21-bk-04924-EPB
                Name

           55.29 764 Pensacola
           .     Avenue, Pontiac, MI
                     48340 - Abandoned
                     property; other
                     interest
                     holders/buyers did
                     not record transfer of
                     title. The Debtor
                     believes that the
                     value provided herein
                     and obtained from
                     Zillow.com may not
                     represent the fair
                     market value,
                     although the Debtor
                     does not have the
                     resources to
                     determine the current
                     market value.                                                          $0.00    Zillow.com                         $62,187.00


           55.30 10548 Count Drive,
           .     Saint Louis, MO
                     63136 - Abandoned
                     property; other
                     interest
                     holders/buyers did
                     not record transfer of
                     title. The Debtor
                     believes that the
                     value provided herein
                     and obtained from
                     Zillow.com may not
                     represent the fair
                     market value,
                     although the Debtor
                     does not have the
                     resources to
                     determine the current
                     market value.                                                          $0.00    Zillow.com                         $53,605.00


           55.31 1635 E. Admiral
           .     Place, Tulsa, OK
                     74120 - Abandoned
                     property; other
                     interest
                     holders/buyers did
                     not record transfer of
                     title. The Debtor
                     believes that the
                     value provided herein
                     and obtained from
                     the county tax
                     assessor may not
                     represent the fair
                     market value,
                     although the Debtor
                     does not have the
                     resources to
                     determine the current
                     market value.                                                          $0.00    county assessor                     $6,645.00


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                              page 14
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           Case 2:21-bk-04924-EPB                             Doc 10 Filed 07/08/21 Entered 07/08/21 18:22:42                     Desc
                                                              Main Document    Page 16 of 48
 Debtor         Home Opportunity, LLC                                                        Case number (If known) 2:21-bk-04924-EPB
                Name




 56.        Total of Part 9.                                                                                                    $1,175,593.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                            Current value of
                                                                                                                            debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)

 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims
            Lawsuit against Wayne County
            Class action suit challenging tax foreclosure practices
            of Wayne County, Michigan, in which the county
            retained all of the proceeds from properties sold at tax
            auction, even if the proceeds exceeded the amount of
            the property's tax delinquency.                                                                                             Unknown
            Nature of claim          Breach of Contract
            Amount requested                              $0.00



            Potential legal malpractice claim                                                                                           Unknown
            Nature of claim          Legal malpractice claim
            Amount requested                              $0.00



 76.        Trusts, equitable or future interests in property
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                              page 15
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            Case 2:21-bk-04924-EPB                            Doc 10 Filed 07/08/21 Entered 07/08/21 18:22:42                      Desc
                                                              Main Document    Page 17 of 48
 Debtor         Home Opportunity, LLC                                                        Case number (If known) 2:21-bk-04924-EPB
                Name



 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

 78.       Total of Part 11.                                                                                                               $0.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                              page 16
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           Case 2:21-bk-04924-EPB                             Doc 10 Filed 07/08/21 Entered 07/08/21 18:22:42                     Desc
                                                              Main Document    Page 18 of 48
 Debtor          Home Opportunity, LLC                                                                               Case number (If known) 2:21-bk-04924-EPB
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                     $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                      $1,175,593.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                                      $0.00       + 91b.            $1,175,593.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $1,175,593.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 17
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            Case 2:21-bk-04924-EPB                                 Doc 10 Filed 07/08/21 Entered 07/08/21 18:22:42                                                  Desc
                                                                   Main Document    Page 19 of 48
 Fill in this information to identify the case:

 Debtor name         Home Opportunity, LLC

 United States Bankruptcy Court for the:            DISTRICT OF ARIZONA

 Case number (if known)             2:21-bk-04924-EPB
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
       Chesterfield County
 2.1                                                  Describe debtor's property that is subject to a lien                     Unknown                  $2,400.00
       Treasurer
       Creditor's Name                                400 Cain Mill Crossing (RR1 Box 247G),
                                                      Patrick, SC 29584 - Abandoned property
       200 W. Main St., #1
       Chesterfield, SC 29709
       Creditor's mailing address                     Describe the lien
                                                      Tax lien
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       8696
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



       City of Chicago Streets &
 2.2                                                                                                                         $10,140.00                 Unknown
       Sanitation                                     Describe debtor's property that is subject to a lien
       Creditor's Name                                streets and sanitation lien against property
                                                      no longer owned by the Debtor at 5609
       121 N. LaSalle St., #1107                      Seeley Ave and 719 W. 66th Place
       Chicago, IL 60602
       Creditor's mailing address                     Describe the lien
                                                      Municipal lien
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply

Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 13
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           Case 2:21-bk-04924-EPB                             Doc 10 Filed 07/08/21 Entered 07/08/21 18:22:42                                          Desc
                                                              Main Document    Page 20 of 48
 Debtor       Home Opportunity, LLC                                                                   Case number (if known)     2:21-bk-04924-EPB
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



       Columbia County
 2.3                                                                                                                           Unknown        $143,642.00
       Assessment Office                              Describe debtor's property that is subject to a lien
       Creditor's Name                                548 W. Front Street, Berwick, PA 18603 -
                                                      Abandoned property
       11 W. Main Street
       Bloomsburg, PA 17815
       Creditor's mailing address                     Describe the lien
                                                      tax lien
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       2300
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.4   Cook County Assessor                           Describe debtor's property that is subject to a lien                      $3,019.00       $2,602.00
       Creditor's Name                                12314 South Aberdeen Street, Calumet Park,
                                                      IL 60827 - Abandoned property
       118 N. Clark St., Suite 320
       Chicago, IL 60602
       Creditor's mailing address                     Describe the lien
                                                      Tax lien - outstanding taxes due per county's
                                                      website
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       0000
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.5   Cook County Assessor                           Describe debtor's property that is subject to a lien                     $23,033.00      $77,413.00
       Creditor's Name                                648 West 62nd Street, Chicago, IL 60621
       118 N. Clark St., Suite 320
       Chicago, IL 60602
       Creditor's mailing address                     Describe the lien
                                                      Tax lien - outstanding taxes due per county's
                                                      website

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                  page 2 of 13
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           Case 2:21-bk-04924-EPB                             Doc 10 Filed 07/08/21 Entered 07/08/21 18:22:42                                  Desc
                                                              Main Document    Page 21 of 48
 Debtor       Home Opportunity, LLC                                                                   Case number (if known)     2:21-bk-04924-EPB
              Name

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       0000
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.6   Cuyahoga County Auditor                        Describe debtor's property that is subject to a lien                       $565.23        $5,400.00
       Creditor's Name                                2224 E. 78th Street, Cleveland, OH 44103 -
                                                      Abandoned property
       2079 E. 9th Street
       Cleveland, OH 44115
       Creditor's mailing address                     Describe the lien
                                                      Tax lien - outstanding taxes due per county's
                                                      website
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       6055
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.7   Cuyahoga County Auditor                        Describe debtor's property that is subject to a lien                     $13,908.34      $28,100.00
       Creditor's Name                                4449 E. 154th Street, Cleveland, OH 44128
       2079 E. 9th Street
       Cleveland, OH 44115
       Creditor's mailing address                     Describe the lien
                                                      Tax lien - outstanding taxes due per county's
                                                      website
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       3029
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                  page 3 of 13
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           Case 2:21-bk-04924-EPB                             Doc 10 Filed 07/08/21 Entered 07/08/21 18:22:42                                  Desc
                                                              Main Document    Page 22 of 48
 Debtor       Home Opportunity, LLC                                                                   Case number (if known)     2:21-bk-04924-EPB
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.8   Cuyahoga County Auditor                        Describe debtor's property that is subject to a lien                     $10,063.64      $47,169.00
       Creditor's Name                                509 E. 114th Street, Cleveland, OH 44108 -
                                                      Abandoned property
       2079 E. 9th Street
       Cleveland, OH 44115
       Creditor's mailing address                     Describe the lien
                                                      Tax lien - outstanding taxes due per county's
                                                      website
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       2083
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.9   Cuyahoga County Auditor                        Describe debtor's property that is subject to a lien                     $85,212.67      $11,200.00
       Creditor's Name                                5606 Orey Avenue, Cleveland, OH 44105 -
                                                      Abandoned property
       2079 E. 9th Street
       Cleveland, OH 44115
       Creditor's mailing address                     Describe the lien
                                                      Tax lien - outstanding taxes due per county's
                                                      website
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       6032
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1
 0     Cuyahoga County Auditor                        Describe debtor's property that is subject to a lien                      $9,822.77      $18,500.00
       Creditor's Name                                6407 Whittier Avenue, Cleveland, OH 44102 -
                                                      Abandoned property
       2079 E. 9th Street
       Cleveland, OH 44115
       Creditor's mailing address                     Describe the lien




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                  page 4 of 13
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           Case 2:21-bk-04924-EPB                             Doc 10 Filed 07/08/21 Entered 07/08/21 18:22:42                                  Desc
                                                              Main Document    Page 23 of 48
 Debtor       Home Opportunity, LLC                                                                   Case number (if known)     2:21-bk-04924-EPB
              Name

                                                      Tax lien - outstanding taxes due per county's
                                                      website
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       9106
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1
 1     Cuyahoga County Auditor                        Describe debtor's property that is subject to a lien                     $10,314.19      $21,600.00
       Creditor's Name                                1358 Elwood Road, East Cleveland, OH 44112
                                                      - Abandoned property
       2079 E. 9th Street
       Cleveland, OH 44115
       Creditor's mailing address                     Describe the lien
                                                      Tax lien - outstanding taxes due per county's
                                                      website
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       2025
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1
 2     Jefferson County Assessor                      Describe debtor's property that is subject to a lien                     Unknown         $41,300.00
       Creditor's Name                                1750 27th Street Ensley, Birmingham, AL
       716 Richard Arrington Jr.                      35218
       Blvd. N
       Birmingham, AL 35203
       Creditor's mailing address                     Describe the lien
                                                      Tax lien - outstanding taxes due per county's
                                                      website
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       5000
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply


Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                  page 5 of 13
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           Case 2:21-bk-04924-EPB                             Doc 10 Filed 07/08/21 Entered 07/08/21 18:22:42                                  Desc
                                                              Main Document    Page 24 of 48
 Debtor       Home Opportunity, LLC                                                                   Case number (if known)    2:21-bk-04924-EPB
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1
 3     Jefferson County Assessor                      Describe debtor's property that is subject to a lien                     Unknown        $35,454.00
       Creditor's Name                                2423 Avenue G, Birmingham, AL 35218
       716 Richard Arrington Jr.
       Blvd. N
       Birmingham, AL 35203
       Creditor's mailing address                     Describe the lien
                                                      Tax lien - outstanding taxes due per county's
                                                      website
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       6000
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1
 4     Jefferson County Assessor                      Describe debtor's property that is subject to a lien                     Unknown        $48,500.00
       Creditor's Name                                300 6th Street Pratt, Birmingham, AL 35214
       716 Richard Arrington Jr.
       Blvd. N
       Birmingham, AL 35203
       Creditor's mailing address                     Describe the lien
                                                      Tax lien - outstanding taxes due per county's
                                                      website
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       1000
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1
 5     Jefferson County Assessor                      Describe debtor's property that is subject to a lien                     Unknown        $60,603.00
       Creditor's Name                                6611 Division Avenue, Birmingham, AL 35206
       716 Richard Arrington Jr.
       Blvd. N
       Birmingham, AL 35203

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page 6 of 13
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           Case 2:21-bk-04924-EPB                             Doc 10 Filed 07/08/21 Entered 07/08/21 18:22:42                                 Desc
                                                              Main Document    Page 25 of 48
 Debtor       Home Opportunity, LLC                                                                   Case number (if known)    2:21-bk-04924-EPB
              Name

       Creditor's mailing address                     Describe the lien
                                                      Tax lien - outstanding taxes due per county's
                                                      website
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       6000
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1   Jefferson County Tax
 6     Office                                         Describe debtor's property that is subject to a lien                     Unknown         $3,090.00
       Creditor's Name                                405 E. Threadneedle Street, Beaumont, TX
       Jefferson County                               77705 - Abandoned property
       Courthouse
       1149 Peal Street
       Beaumont, TX 77701
       Creditor's mailing address                     Describe the lien
                                                      Tax lien - outstanding taxes due per county's
                                                      website
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       0000
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1   Mississippi County
 7     Assessor                                       Describe debtor's property that is subject to a lien                      $275.66        $2,500.00
       Creditor's Name                                100 E. Cherry Street, Blytheville, AR 72315
       200 W. Walnut St., #100
       Blytheville, AR 72315
       Creditor's mailing address                     Describe the lien
                                                      Tax lien - outstanding taxes due per county's
                                                      website
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       3000

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page 7 of 13
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           Case 2:21-bk-04924-EPB                             Doc 10 Filed 07/08/21 Entered 07/08/21 18:22:42                                 Desc
                                                              Main Document    Page 26 of 48
 Debtor       Home Opportunity, LLC                                                                   Case number (if known)    2:21-bk-04924-EPB
              Name

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1   Mississippi County
 8     Assessor                                       Describe debtor's property that is subject to a lien                      $893.16       $10,931.00
       Creditor's Name                                1611 Basin Street, Blytheville, AR 72315
                                                      Abandoned property
       200 W. Walnut St., #100
       Blytheville, AR 72315
       Creditor's mailing address                     Describe the lien
                                                      Tax lien - outstanding taxes due per county's
                                                      website
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       6000
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1
 9     Mohave County Treasurer                        Describe debtor's property that is subject to a lien                      $135.11        $8,874.00
       Creditor's Name                                505 Sea Spray Drive, Bullhead City, AZ 86442
                                                      - Abandoned property
       700 W. Beale St
       Kingman, AZ 86401
       Creditor's mailing address                     Describe the lien
                                                      Tax lien - outstanding taxes due per county's
                                                      website
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       3113
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2   Montgomery County
 0     Assessor                                       Describe debtor's property that is subject to a lien                     Unknown        $24,536.00




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page 8 of 13
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           Case 2:21-bk-04924-EPB                             Doc 10 Filed 07/08/21 Entered 07/08/21 18:22:42                                 Desc
                                                              Main Document    Page 27 of 48
 Debtor       Home Opportunity, LLC                                                                   Case number (if known)    2:21-bk-04924-EPB
              Name

       Creditor's Name                                205 W. 2nd Street, Coffeyville, KS 67337 -
                                                      Abandoned property
       P.O. Box 767
       Independence, KS 67301
       Creditor's mailing address                     Describe the lien
                                                      Tax lien - outstanding taxes due per county's
                                                      website
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       0000
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2   Montgomery County
 1     Auditor                                        Describe debtor's property that is subject to a lien                      $495.86       $38,000.00
       Creditor's Name                                3665 Brumbaugh Blvd, Dayton, OH 45416 -
                                                      Abandoned property
       P.O. Box 972
       Dayton, OH 45422
       Creditor's mailing address                     Describe the lien
                                                      Tax lien - outstanding taxes due per county's
                                                      website
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       0139
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2
 2     Oakland County Treasurer                       Describe debtor's property that is subject to a lien                     Unknown       $148,423.00
       Creditor's Name                                654 East Meyers Avenue, Hazel Park, MI
       1200 Telegraph Road                            48030 - Abandoned property
       Building 12E
       Pontiac, MI 48341
       Creditor's mailing address                     Describe the lien
                                                      Tax lien - outstanding taxes due per county's
                                                      website
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No


Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page 9 of 13
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           Case 2:21-bk-04924-EPB                             Doc 10 Filed 07/08/21 Entered 07/08/21 18:22:42                                 Desc
                                                              Main Document    Page 28 of 48
 Debtor       Home Opportunity, LLC                                                                   Case number (if known)    2:21-bk-04924-EPB
              Name

                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       0014
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2
 3     Otero County Treasurer                         Describe debtor's property that is subject to a lien                     Unknown        $63,896.00
       Creditor's Name                                105 South Mulberry, Manzanola, CO 81058 -
                                                      Abandoned property
       13 W. 3rd Street, #213
       La Junta, CO 81050
       Creditor's mailing address                     Describe the lien
                                                      Tax lien - outstanding taxes due per county's
                                                      website
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       4007
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2
 4     Richland County Treasurer                      Describe debtor's property that is subject to a lien                     Unknown        $81,773.00
       Creditor's Name                                1014 Prescott Road, Columbia, SC 29203 -
                                                      Abandoned property
       2020 Hampton ST.
       Columbia, SC 29204
       Creditor's mailing address                     Describe the lien
                                                      Tax lien - outstanding taxes due per county's
                                                      website
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       1238
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2   Robeson County Register
 5     of Deeds                                       Describe debtor's property that is subject to a lien                     Unknown        $19,900.00

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page 10 of 13
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           Case 2:21-bk-04924-EPB                             Doc 10 Filed 07/08/21 Entered 07/08/21 18:22:42                                 Desc
                                                              Main Document    Page 29 of 48
 Debtor       Home Opportunity, LLC                                                                   Case number (if known)     2:21-bk-04924-EPB
              Name

       Creditor's Name                                297 El Dorado Road, Fairmont, NC 28340 -
                                                      Abandoned property
       550 North Chestnut Street
       Lumberton, NC 28358
       Creditor's mailing address                     Describe the lien
                                                      Tax lien - outstanding taxes due per county's
                                                      website
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       4505
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2   Sangamon County Tax
 6     Assessor                                       Describe debtor's property that is subject to a lien                      $3,479.26      $12,297.00
       Creditor's Name                                402 East Illinois Street, New Berlin, IL 62670 -
                                                      Abandoned property
       200 S. 9th St., #104
       Springfield, IL 62701
       Creditor's mailing address                     Describe the lien
                                                      Tax lien - outstanding taxes due per county's
                                                      website
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       6005
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2
 7     St. Louis County Treasurer                     Describe debtor's property that is subject to a lien                     $11,378.52      $53,605.00
       Creditor's Name                                10548 Count Drive, Saint Louis, MO 63136 -
                                                      Abandoned property
       41 S. Central Ave
       Saint Louis, MO 63105
       Creditor's mailing address                     Describe the lien
                                                      Tax lien - outstanding taxes due per county's
                                                      website
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No


Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                  page 11 of 13
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           Case 2:21-bk-04924-EPB                             Doc 10 Filed 07/08/21 Entered 07/08/21 18:22:42                                  Desc
                                                              Main Document    Page 30 of 48
 Debtor       Home Opportunity, LLC                                                                   Case number (if known)    2:21-bk-04924-EPB
              Name

                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       0936
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2
 8     Stark County Auditor                           Describe debtor's property that is subject to a lien                     $1,851.75      $39,133.00
       Creditor's Name                                1220 Hoover Place NW, Canton, OH 44703 -
                                                      Abandoned property
       110 Central Plaza S., #220
       Canton, OH 44702
       Creditor's mailing address                     Describe the lien
                                                      Tax lien - outstanding taxes due per county's
                                                      website
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       7717
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2
 9     Stark County Auditor                           Describe debtor's property that is subject to a lien                     $2,611.27      $15,994.00
       Creditor's Name                                821 Correll Avenue NE, Canton, OH 44704 -
                                                      Abandoned property
       110 Central Plaza S., #220
       Canton, OH 44702
       Creditor's mailing address                     Describe the lien
                                                      Tax lien - outstanding taxes due per county's
                                                      website
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       2472
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.3   Summit County Fiscal
 0     Office                                         Describe debtor's property that is subject to a lien                     $1,855.35      $39,926.00

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page 12 of 13
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           Case 2:21-bk-04924-EPB                             Doc 10 Filed 07/08/21 Entered 07/08/21 18:22:42                                 Desc
                                                              Main Document    Page 31 of 48
 Debtor       Home Opportunity, LLC                                                                   Case number (if known)      2:21-bk-04924-EPB
              Name

        Creditor's Name                               477 Edgewood Avenue, Akron, OH 44307
                                                      Abandoned property
        175 South Main Street
        Akron, OH 44308
        Creditor's mailing address                    Describe the lien
                                                      Tax lien - outstanding taxes due per county's
                                                      website
                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number
        2969
        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



 2.3
 1      Tulsa County Treasurer                        Describe debtor's property that is subject to a lien                       Unknown              $6,645.00
        Creditor's Name                               1635 E. Admiral Place, Tulsa, OK 74120 -
                                                      Abandoned property
        218 W. 6th Street, 8th Fl
        Tulsa, OK 74119
        Creditor's mailing address                    Describe the lien
                                                      Tax lien - outstanding taxes due per county's
                                                      website
                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number
        4460
        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.              $189,054.78

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 13 of 13
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            Case 2:21-bk-04924-EPB                            Doc 10 Filed 07/08/21 Entered 07/08/21 18:22:42                                        Desc
                                                              Main Document    Page 32 of 48
 Fill in this information to identify the case:

 Debtor name         Home Opportunity, LLC

 United States Bankruptcy Court for the:            DISTRICT OF ARIZONA

 Case number (if known)           2:21-bk-04924-EPB
                                                                                                                                                   Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $63,993.74
           City of Cincinnati                                                   Contingent
           801 Plum Street                                                      Unliquidated
           Cincinnati, OH 45202                                                 Disputed
           Date(s) debt was incurred
                                                                                            claims related to real property that is owned, property
                                                                             Basis for the claim:
           Last 4 digits of account number                                   that was abandoned and property that is no longer owned regarding
                                                                             case numbers 16CV10458, CJI7024938 and 18CV07998
                                                                             Is the claim subject to offset?       No     Yes

 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $1,113,000.00
           Cleveland Municipal Court-Criminal Div                               Contingent
           1200 Ontario Street                                                  Unliquidated
           Cleveland, OH 44113                                                  Disputed
           Date(s) debt was incurred
                                                                                             judgment liens on various properties owned,
                                                                             Basis for the claim:
           Last 4 digits of account number                                   surrendered and no longer owned by the Debtor related to case
                                                                             numbered 2016-CVH 017970, 001972, 017973, 017974, 017975, 007440,
                                                                             007443, 007444, 007818, 001393, 01394, 001395
                                                                             Is the claim subject to offset?       No     Yes

 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $9,689,948.18
           Joseph Ware for Estate of Evoughn Ware                               Contingent
           c/o Matthew D. Elster, Beermann LLP                                  Unliquidated
           161 N. Clark Street, Suite 3000                                      Disputed
           Chicago, IL 60601
                                                                             Basis for the claim:    Judgment creditor
           Date(s) debt was incurred
           Last 4 digits of account number      6009                         Is the claim subject to offset?       No     Yes


 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 Unknown
           Maurice Wutscher LLP                                                 Contingent
           Attn: Ernest Wagner                                                  Unliquidated
           105 W. Madison Street, Suite 603                                     Disputed
           Chicago, IL 60602
                                                                             Basis for the claim:    potential claim for attorney's fees
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes

Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                     page 1 of 2
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            Case 2:21-bk-04924-EPB                            Doc 10 Filed 07/08/21 Entered 07/08/21 18:22:42                                               Desc
                                                              Main Document    Page 33 of 48
 Debtor       Home Opportunity, LLC                                                                   Case number (if known)            2:21-bk-04924-EPB
              Name


 3.5       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $205,613.00
           Window Rock Manager, LLC                                             Contingent
           1819 E. Southern Avenue, Ste B10                                     Unliquidated
           Mesa, AZ 85204                                                       Disputed
           Date(s) debt was incurred 1/1/2020 - 6/15/2021
                                                                             Basis for the claim:    loan
           Last 4 digits of account number
                                                                             Is the claim subject to offset?         No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                      related creditor (if any) listed?              account number, if
                                                                                                                                                     any
 4.1       City of Cincinnati
           Tax & Licenses                                                                             Line     3.1
           801 Plum St
                                                                                                             Not listed. Explain
           Cincinnati, OH 45202

 4.2       Matthew D. Elster
           Beermann LLP                                                                               Line     3.3
           161 N. Clark St., Suite 3000
                                                                                                             Not listed. Explain
           Chicago, IL 60601


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                          Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.          $                          0.00
 5b. Total claims from Part 2                                                                            5b.    +     $                 11,072,554.92

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.          $                    11,072,554.92




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 2 of 2
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           Case 2:21-bk-04924-EPB                             Doc 10 Filed 07/08/21 Entered 07/08/21 18:22:42                                              Desc
                                                              Main Document    Page 34 of 48
 Fill in this information to identify the case:

 Debtor name         Home Opportunity, LLC

 United States Bankruptcy Court for the:            DISTRICT OF ARIZONA

 Case number (if known)         2:21-bk-04924-EPB
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1.        State what the contract or                   Contingent fee
             lease is for and the nature of               agreement regarding
             the debtor's interest                        class action suit
                                                          against Wayne County,
                                                          Michigan, challenging
                                                          tax foreclosure
                                                          practices in which the
                                                          county retained all of
                                                          the proceeds from
                                                          properties sold at tax
                                                          auction, even if the
                                                          proceeds exceeded the
                                                          amount of the
                                                          property's tax
                                                          delinquency.
                  State the term remaining                                          Outside Legal Counsel, PLC
                                                                                    Attn: Philip L. Ellison
             List the contract number of any                                        P.O. Box 107
                   government contract                                              Hemlock, MI 48626




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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           Case 2:21-bk-04924-EPB                             Doc 10 Filed 07/08/21 Entered 07/08/21 18:22:42                               Desc
                                                              Main Document    Page 35 of 48
 Fill in this information to identify the case:

 Debtor name         Home Opportunity, LLC

 United States Bankruptcy Court for the:            DISTRICT OF ARIZONA

 Case number (if known)         2:21-bk-04924-EPB
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:
    2.1                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code


    2.2                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code


    2.3                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code


    2.4                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code




Official Form 206H                                                           Schedule H: Your Codebtors                                       Page 1 of 1
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           Case 2:21-bk-04924-EPB                             Doc 10 Filed 07/08/21 Entered 07/08/21 18:22:42                             Desc
                                                              Main Document    Page 36 of 48
 Fill in this information to identify the case:

 Debtor name         Home Opportunity, LLC

 United States Bankruptcy Court for the:            DISTRICT OF ARIZONA

 Case number (if known)         2:21-bk-04924-EPB
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                                 $26,739.00
       From 1/01/2021 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                                 $55,604.00
       From 1/01/2020 to 12/31/2020
                                                                                                   Other


       For year before that:                                                                       Operating a business                             $8,793,063.00
       From 1/01/2019 to 12/31/2019
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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            Case 2:21-bk-04924-EPB                            Doc 10 Filed 07/08/21 Entered 07/08/21 18:22:42                                       Desc
                                                              Main Document    Page 37 of 48
 Debtor       Home Opportunity, LLC                                                                     Case number (if known) 2:21-bk-04924-EPB



       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               Window Rock Manager, LLC                                    4/5/2021                         $10,410.00                Secured debt
               1819 E. Southern Avenue, Ste B10                            $432.00                                                    Unsecured loan repayments
               Mesa, AZ 85204                                              3/26/2021
                                                                                                                                      Suppliers or vendors
                                                                           $9978
                                                                                                                                      Services
                                                                                                                                      Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    Window Rock Manager, LLC                                    4/5/2021                         $58,177.98           unsecured loan repayments
               1819 E. Southern Avenue, Ste B10                            $432.12
               Mesa, AZ 85204                                              3/26/2021
                                                                           $9,978.21
                                                                           1/28/2021
                                                                           $12,894.98
                                                                           1/13/2021
                                                                           $3,434.19
                                                                           12/3/2020
                                                                           $6,996.21
                                                                           11/24/2020
                                                                           $547.96
                                                                           11/16/2020
                                                                           $1,095.87
                                                                           10/27/2020
                                                                           $12,293.79
                                                                           9/1/2020
                                                                           $51.00
                                                                           7/28/2020
                                                                           $10,453.65

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                              Describe of the Property                                       Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                              Description of the action creditor took                        Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 2
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            Case 2:21-bk-04924-EPB                            Doc 10 Filed 07/08/21 Entered 07/08/21 18:22:42                                          Desc
                                                              Main Document    Page 38 of 48
 Debtor       Home Opportunity, LLC                                                                     Case number (if known) 2:21-bk-04924-EPB



    List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
    in any capacity—within 1 year before filing this case.

          None.

               Case title                                       Nature of case             Court or agency's name and          Status of case
               Case number                                                                 address
       7.1.    Joseph Ware et al. v Home                        Civil                      Circuit Court of Cook                  Pending
               Opportunity, LLC                                                            County                                 On appeal
               17L6009                                                                     5555 W. Grand Avenue
                                                                                                                                  Concluded
                                                                                           Chicago, IL 60639

       7.2.    Cleveland Municipal Court /                      Code compliance            Cleveland Municipal                    Pending
               Criminal Divison vs. Home                        issue                      Court-Criminal Div                     On appeal
               Opportunity, LLC                                                            1200 Ontario Street
                                                                                                                                  Concluded
               2016CVH017972                                                               Cleveland, OH 44113

       7.3.    Cleveland Municipal Court /                      Code compliance            Cleveland Municipal                    Pending
               Criminal Divison vs. Home                        issue                      Court-Criminal Div                     On appeal
               Opportunity, LLC                                                            1200 Ontario Street
                                                                                                                                  Concluded
               2016CVH017973                                                               Cleveland, OH 44113

       7.4.    Cleveland Municipal Court /                      Code compliance            Cleveland Municipal                    Pending
               Criminal Divison vs. Home                        issue                      Court-Criminal Div                     On appeal
               Opportunity, LLC                                                            1200 Ontario Street
                                                                                                                                  Concluded
               2016CVH017974                                                               Cleveland, OH 44113

       7.5.    Cleveland Municipal Court /                      Code compliance            Cleveland Municipal                    Pending
               Criminal Divison vs. Home                        issue                      Court-Criminal Div                     On appeal
               Opportunity, LLC                                                            1200 Ontario Street
                                                                                                                                  Concluded
               2016CVH017975                                                               Cleveland, OH 44113

       7.6.    Cleveland Municipal Court /                      Code compliance            Cleveland Municipal                    Pending
               Criminal Divison vs. Home                        issue                      Court-Criminal Div                     On appeal
               Opportunity, LLC                                                            1200 Ontario Street
                                                                                                                                  Concluded
               2017CVH007440                                                               Cleveland, OH 44113

       7.7.    Cleveland Municipal Court /                      Code compliance            Cleveland Municipal                    Pending
               Criminal Divison vs. Home                        issue                      Court-Criminal Div                     On appeal
               Opportunity, LLC                                                            1200 Ontario Street
                                                                                                                                  Concluded
               2017CVH007443                                                               Cleveland, OH 44113

       7.8.    Cleveland Municipal Court /                      Code compliance            Cleveland Municipal                    Pending
               Criminal Divison vs. Home                        issue                      Court-Criminal Div                     On appeal
               Opportunity, LLC                                                            1200 Ontario Street
                                                                                                                                  Concluded
               2017CVH007444                                                               Cleveland, OH 44113

       7.9.    Cleveland Municipal Court /                      Code compliance            Cleveland Municipal                    Pending
               Criminal Divison vs. Home                        issue                      Court-Criminal Div                     On appeal
               Opportunity, LLC                                                            1200 Ontario Street
                                                                                                                                  Concluded
               2017CVH007818                                                               Cleveland, OH 44113

       7.10 Cleveland Municipal Court /                         Code compliance            Cleveland Municipal                    Pending
       .    Criminal Divison vs. Home                           issue                      Court-Criminal Div                     On appeal
               Opportunity, LLC                                                            1200 Ontario Street
                                                                                                                                  Concluded
               2017CVH001393                                                               Cleveland, OH 44113




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 3
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           Case 2:21-bk-04924-EPB                             Doc 10 Filed 07/08/21 Entered 07/08/21 18:22:42                                   Desc
                                                              Main Document    Page 39 of 48
 Debtor      Home Opportunity, LLC                                                                      Case number (if known) 2:21-bk-04924-EPB



               Case title                                       Nature of case             Court or agency's name and            Status of case
               Case number                                                                 address
       7.11 Cleveland Municipal Court /                         Code compliance            Cleveland Municipal                         Pending
       .    Criminal Divison vs. Home                           issue                      Court-Criminal Div                          On appeal
               Opportunity, LLC                                                            1200 Ontario Street
                                                                                                                                       Concluded
               2017CVH001394                                                               Cleveland, OH 44113

       7.12 Home Opportunity vs.                                Class action suit          Oakland County, Michigan                    Pending
       .    Oakland County                                      challenging tax            Superior Court                              On appeal
               2020-180708-CZ (dismissed                        foreclosure                1200 N. Telegraph Road
                                                                                                                                       Concluded
               w/o prejudice)                                   practices of               Dept. 413
                                                                Michigan counties          Pontiac, MI 48341
                                                                Oakland and
                                                                Wayne in which
                                                                the counties
                                                                retain all of the
                                                                proceeds from
                                                                properties sold at
                                                                tax auction, even
                                                                if the proceeds
                                                                exceed the
                                                                amount of the
                                                                property's tax
                                                                delinquency.

       7.13 Home Opportunity, LLC and                           Class action suit          3rd Judicial Circuit of                     Pending
       .    Lawrence Sangster vs.                               challenging tax            Michigan                                    On appeal
               COunty of Wayne by its                           foreclosure                2 Woodward Avenue
                                                                                                                                       Concluded
               Board of Commissioners and                       practices of               Detroit, MI 48226
               Eric Sabree                                      Michigan counties
               20-005048-CZ                                     Oakland and
                                                                Wayne in which
                                                                the counties
                                                                retain all of the
                                                                proceeds from
                                                                properties sold at
                                                                tax auction, even
                                                                if the proceeds
                                                                exceed the
                                                                amount of the
                                                                property's tax
                                                                delinquency.


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                     Description of the gifts or contributions                Dates given                          Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 4
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           Case 2:21-bk-04924-EPB                             Doc 10 Filed 07/08/21 Entered 07/08/21 18:22:42                                      Desc
                                                              Main Document    Page 40 of 48
 Debtor        Home Opportunity, LLC                                                                       Case number (if known) 2:21-bk-04924-EPB




           None

       Description of the property lost and                     Amount of payments received for the loss                 Dates of loss          Value of property
       how the loss occurred                                                                                                                                 lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates             Total amount or
                the transfer?                                                                                                                             value
                Address
       11.1.    Allen Barnes & Jones, PLC
                1850 N. Central Avenue, Suite
                1150
                Phoenix, AZ 85004                                    Attorney Fees (includes Ch 7 filing fee)                  6/16/2021              $12,838.00

                Email or website address
                hbarnes@allenbarneslaw.com

                Who made the payment, if not debtor?
                Patrick Cardon



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                 Dates transfers           Total amount or
                                                                                                                       were made                          value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                           Description of property transferred or                   Date transfer           Total amount or
               Address                                          payments received or debts paid in exchange              was made                         value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 5
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            Case 2:21-bk-04924-EPB                            Doc 10 Filed 07/08/21 Entered 07/08/21 18:22:42                                     Desc
                                                              Main Document    Page 41 of 48
 Debtor        Home Opportunity, LLC                                                                    Case number (if known) 2:21-bk-04924-EPB



                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To
       14.1.     2915 E. Baseline Road, Ste 109                                                                            2013-2020
                 Gilbert, AZ 85234

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                 Facility name and address                      Nature of the business operation, including type of services            If debtor provides meals
                                                                the debtor provides                                                     and housing, number of
                                                                                                                                        patients in debtor’s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                   Last 4 digits of          Type of account or          Date account was              Last balance
               Address                                          account number            instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                       Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 6
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            Case 2:21-bk-04924-EPB                            Doc 10 Filed 07/08/21 Entered 07/08/21 18:22:42                                     Desc
                                                              Main Document    Page 42 of 48
 Debtor      Home Opportunity, LLC                                                                      Case number (if known) 2:21-bk-04924-EPB




          None

       Facility name and address                                     Names of anyone with                 Description of the contents                   Do you still
                                                                     access to it                                                                       have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 7
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            Case 2:21-bk-04924-EPB                            Doc 10 Filed 07/08/21 Entered 07/08/21 18:22:42                                            Desc
                                                              Main Document    Page 43 of 48
 Debtor      Home Opportunity, LLC                                                                      Case number (if known) 2:21-bk-04924-EPB



26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26a.1.       Bonita Gruenewald                                                                                                    3/2018-present
                    1819 E. Southern Avenue, #B10
                    Mesa, AZ 85204

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None

       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26b.1.       Cordell Rogers                                                                                                       5/2013-12/2019 and
                    1819 E. Southern Avenue                                                                                              6/2021-7/2021
                    SUite B10
                    Mesa, AZ 85204
       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26b.2.       Price Waterhouse Coopers                                                                                             1/2017-12/2019
                    1850 N. Central Avenue
                    Suite 700
                    Phoenix, AZ 85004

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Bonita Gruenewald
                    1819 E. Southern Avenue, #B10
                    Mesa, AZ 85204

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Red Rock River, LLC                            1819 E. Southern Avenue, #B10                       Member                                100
                                                      Mesa, AZ 85204



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 8
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           Case 2:21-bk-04924-EPB                             Doc 10 Filed 07/08/21 Entered 07/08/21 18:22:42                                    Desc
                                                              Main Document    Page 44 of 48
 Debtor      Home Opportunity, LLC                                                                      Case number (if known) 2:21-bk-04924-EPB



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                    Amount of money or description and value of              Dates             Reason for
                                                                property                                                                   providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation
    Red Rock River LLC                                                                                         EIN:        XX-XXXXXXX

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 9
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           Case 2:21-bk-04924-EPB                             Doc 10 Filed 07/08/21 Entered 07/08/21 18:22:42                                    Desc
                                                              Main Document    Page 45 of 48
 Debtor      Home Opportunity, LLC                                                                      Case number (if known) 2:21-bk-04924-EPB




 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         July 8, 2021

 /s/ Cordell Rogers                                                     Cordell Rogers
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Authorized Party

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 10
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            Case 2:21-bk-04924-EPB                            Doc 10 Filed 07/08/21 Entered 07/08/21 18:22:42                                Desc
                                                              Main Document    Page 46 of 48
B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                           District of Arizona
 In re       Home Opportunity, LLC                                                                              Case No.    2:21-bk-04924-EPB
                                                                                      Debtor(s)                 Chapter     7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                    $               12,500.00
             Prior to the filing of this statement I have received                                          $               12,500.00
             Balance Due                                                                                    $                     0.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):           Patrick Cardon

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]


6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               adversary proceedings or contested matters.
                                                                            CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     July 8, 2021                                                                     /s/ Hilary L. Barnes
     Date                                                                             Hilary L. Barnes 19669
                                                                                      Signature of Attorney
                                                                                      Allen Barnes & Jones, PLC
                                                                                      1850 N. Central Avenue, Suite 1150
                                                                                      Phoenix, AZ 85004
                                                                                      602-256-6000 Fax: 602-252-4712
                                                                                      hbarnes@allenbarneslaw.com
                                                                                      Name of law firm




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            Case 2:21-bk-04924-EPB                            Doc 10 Filed 07/08/21 Entered 07/08/21 18:22:42                              Desc
                                                              Main Document    Page 47 of 48
                                                               United States Bankruptcy Court
                                                                       District of Arizona
 In re      Home Opportunity, LLC                                                                         Case No.   2:21-bk-04924-EPB
                                                                                Debtor(s)                 Chapter    7

                                                                                                          Check if this is an
                                                                                                       Amended/Supplemental Mailing List
                                                                                                       (Include only newly added or
                                                                                                       changed creditors.)


                                                           MAILING LIST DECLARATION


            I, the Authorized Party of the corporation named as the debtor in this case, do hereby certify, under penalty of perjury, that

the Master Mailing List, consisting of 4 sheet(s), is complete, correct and consistent with the debtor(s)' Schedules.




 Date:       July 8, 2021                                            /s/ Cordell Rogers
                                                                     Cordell Rogers/Authorized Party
                                                                     Signer/Title

 Date: July 8, 2021                                                  /s/ Hilary L. Barnes
                                                                     Signature of Attorney
                                                                     Hilary L. Barnes 19669
                                                                     Allen Barnes & Jones, PLC
                                                                     1850 N. Central Avenue, Suite 1150
                                                                     Phoenix, AZ 85004
                                                                     602-256-6000 Fax: 602-252-4712




MML_Requirements_8-2018                                                                                                                   MML-3

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           Case 2:21-bk-04924-EPB                             Doc 10 Filed 07/08/21 Entered 07/08/21 18:22:42                    Desc
                                                              Main Document    Page 48 of 48
